                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

UNITED STATES OF AMERICA,                           )
                     Plaintiff,                     )
vs.                                                 )      CASE NO. DNCW3:01CR72-9
                                                    )      (Financial Litigation Unit)
TERRY HALL,                                         )
                              Defendant.            )
and                                                 )
                                                    )
CLUB ONYX,                                          )
                              Garnishee.            )

               DISMISSAL OF WRIT OF CONTINUING GARNISHMENT

        Upon Motion of the United States for the reasons stated therein and for good cause shown,

it is ORDERED that the Writ of Continuing Garnishment filed in this case against the Defendant

Terry Hall is DISMISSED.

        SO ORDERED.                             Signed: October 25, 2011




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